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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA
                                MIAMI DIVISION


   PDVSA US LITIGATION TRUST

                    Plaintiff,

              v.

   LUKOIL PAN AMERICAS LLC; LUKOIL
   PETROLEUM LTD.; COLONIAL OIL INDUSTRIES,
   INC.; COLONIAL GROUP, INC.; GLENCORE LTD.; Case No. 1:18-cv-20818 (DPG)
   GLENCORE INTERNATIONAL, A.G.; GLENCORE
   ENERGY UK LTD.; MASEFIELD A.G.; TRAFIGURA
   A.G.; TRAFIGURA TRADING LLC; TRAFIGURA
   BEHEER B.V.; VITOL ENERGY (BERMUDA)
   LTD.; VITOL S.A.; VITOL, INC.; FRANCISCO
   MORILLO; LEONARDO BAQUERO; DANIEL
   LUTZ; LUIS LIENDO; JOHN RYAN; MARIA
   FERNANDA RODRIGUEZ; HELSINGE HOLDINGS,
   LLC; HELSINGE, INC.; HELSINGE LTD., SAINT-
   HÉLIER; WALTROP CONSULTANTS,          C.A.;
   GODELHEIM, INC.; HORNBERG INC.; SOCIETE
   DOBERAN, S.A.; SOCIETE HEDISSON, S.A.;
   SOCIETE HELLIN, S.A.;       GLENCORE    DE
   VENEZUELA, C.A.; JEHU HOLDING INC.;
   ANDREW SUMMERS; MAXIMILIANO POVEDA;
   JOSE LAROCCA; LUIS ALVAREZ; GUSTAVO
   GABALDON; SERGIO DE LA VEGA; ANTONIO
   MAARRAOUI; CAMPO ELIAS PAEZ; PAUL
   ROSADO;    BAC    FLORIDA     BANK;   EFG
   INTERNATIONAL      A.G.;     BLUE    BANK
   INTERNATIONAL N.V.

                    Defendants.


                   MOTION TO DISMISS FOR LACK OF STANDING
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   Exhibit 9 ................................................Expert Report of Jose Ignacio Hernandez (cited as “HR”)

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          The defendants1 move to dismiss this case under Rule 12(b)(1) for lack of standing.

                                   PRELIMINARY STATEMENT

          The PDVSA US Litigation Trust purports to bring meritless claims on behalf of the

   national oil company of Venezuela, PDVSA—a failing enterprise controlled by a corrupt

   dictatorship condemned by the world community and sanctioned by the United States. The

   Trust, however, has wholly failed to meet its burden to prove its standing to bring claims

   ostensibly owned by PDVSA. None of the purported signatories to the Trust Agreement—the

   document that purported to create the Trust and assign the alleged claims—have appeared in this

   case to authenticate their signatures, Fed. R. Evid. 901(a), establish their authority to sign the

   agreement, demonstrate they understood the document they were allegedly signing, or otherwise

   be examined by counsel for the defendants—issues fully briefed in prior filings, ECF 502. The

   Trust Agreement is thus inadmissible, and without it, the Trust cannot establish its standing.

          These discovery failures are all the more pressing given the Trust appears to have been

   established by individuals purporting to act for PDVSA (but who had no authority to do so) to

   evade PDVSA’s many U.S. creditors and to avoid having to subject themselves to discovery.

          Every aspect of this unorthodox arrangement is suspicious: The Trust is controlled by its

   lawyers, consultants, and financier, Algamex



                                                                    The ex-Petroleum Minister who

   allegedly signed the Trust Agreement on behalf of PDVSA (but had no authority to do so) has

   reportedly been jailed in Venezuela for corruption and for signing contracts without
   1
     Collectively, Lukoil Pan Americas LLC, Colonial Oil Industries, Inc., Colonial Group, Inc.,
   Paul Rosado, Glencore Ltd., Glencore Energy UK Ltd., Gustavo Gabaldon, Sergio de la Vega,
   Vitol Inc., Vitol Energy (Bermuda) Ltd., Antonio Maarraoui, Trafigura Trading, LLC, BAC
   Florida Bank, Francisco Morillo, Leonardo Baquero, Helsinge Holdings, LLC, Helsinge, Inc.,
   Helsinge Ltd., Daniel Lutz, Luis Liendo, John Ryan, Luis Alvarez, and Maximiliano Poveda.


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   authorization. The putative (but illegitimate) Procurador General of Venezuela, another alleged

   Trust Agreement signatory who purportedly “approved” the assignment (though did not himself

   purport to assign the claims), refuses to appear for a deposition, allegedly on the direct orders of

   Venezuelan President Nicolas Maduro. And the third and final Venezuelan official alleged to

   have signed the Trust Agreement has disappeared and reports indicate he is also wanted on

   corruption charges.

          It is thus no wonder that the Venezuelan National Assembly—the “only legitimate

   legislative body” in Venezuela according to the United States State Department2—has

   denounced the Trust Agreement as “unconstitutional” under Venezuelan law and as a

   “mechanism to divert the funds and resources” of “the public treasury” of Venezuela.

          But even if the Court were to accept the Trust Agreement into evidence, the Trust cannot

   carry its burden of proving standing for multiple independent reasons:

          First, the putative assignment of claims from PDVSA is void under New York law

   (which applies here because the Trust was purportedly created under New York law and includes

   a New York choice of law provision) on three independent grounds:

           (i) Violation of New York’s Ban on Champerty. The assignment is void because it

   violates New York’s ban on champerty. A recent opinion of the New York Court of Appeals—

   New York’s highest court—is directly on point and dispositive. It holds that New York law

   prohibits the assignment of claims “with the intent and for the primary purpose of bringing a

   lawsuit.” Justinian Capital SPC v. WestLB AG, 65 N.E.3d 1253, 1254 (N.Y. 2016). Here, the

   only purpose for the creation of the Trust and the assignment of claims was to bring litigation.

   Thus, the assignment is void under New York law.

   2
     State Department, Assumption of Legislative Powers in Venezuela (Aug. 18, 2017), available
   at https://www.state.gov/r/pa/prs/ps/2017/08/273543.htm.


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          (ii) Lack of Required Certificates of Acknowledgement. New York law requires that a

   trust agreement be “acknowledged by the person establishing such trust,” through a notarized

   certificate of acknowledgment.      The Trust Agreement lacks a notarized certificate of

   acknowledgment for the only Venezuelan official who purportedly signed it on behalf of

   PDVSA, the then-Petroleum Minister. The Trust is thus invalid for this reason as well. Bullock

   v. Clarke, 2002 WL 31119931, at *1–*2 (N.Y. Sup. Ct. 2002).

          (iii) Indefinite Trust Corpus.    Further, the Trust is invalid because the putatively

   assigned claims are not “sufficiently designated or identified to enable title of the property to

   pass to the trustee.” In re Doman, 890 N.Y.S.2d 632, 634 (N.Y. App. Div. 2009).

          Second, even if the assignment and Trust were valid under New York law (they are not),

   this case should still be dismissed because the Trust Agreement’s validity under Venezuelan law

   presents the Court with non-justiciable political questions in light of the National Assembly’s

   resolution denouncing the Trust as “unconstitutional.” Since political parties opposing President

   Maduro won a majority in the National Assembly in 2015, Maduro has been engaged in a

   relentless campaign to gut the National Assembly of lawmaking authority. The United States

   has denounced Maduro’s efforts to consolidate power, and has sided strongly with the National

   Assembly in Venezuela’s constitutional crisis.

          These issues of foreign affairs are directly implicated in this case. To find standing, the

   Court would have to undermine the U.S. State Department’s clear, continued recognition and

   support of the Venezuelan National Assembly by directly contravening the National Assembly’s

   express declaration that the Trust is illegal, a decision that would no doubt undermine U.S.

   foreign policy by strengthening Maduro’s hand in his power struggle with the National

   Assembly. This case should thus be dismissed on political question grounds.




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          Third, if the Court concludes that the Venezuelan law issues are justiciable, the putative

   assignment is void under Venezuelan law, for the following reasons:

          (i) Purported Signatories Lacked Legal Authority. Under Venezuelan law, PDVSA can

   act only through its board of directors and president, but the undisputed record shows the

   putative assignment here was approved by neither. It is therefore void. In contrast, neither of the

   purported Trust Agreement signatories had the legal authority to assign PDVSA’s claims. The

   ex-Petroleum Minister had authority only to supervise PDVSA and to vote the government’s

   shares at PDVSA shareholders’ meetings, not to act directly for PDVSA. And even the Trust’s

   own Venezuelan law expert admits that the disputed Procurador General lacked authority to

   assign PDVSA’s claims to a third-party.

          (ii) Violation of National Interest Contract Approval Requirement. Further, as declared

   by the National Assembly, the Trust Agreement constitutes a “national interest contract,” a

   particular class of public contracts under Venezuelan law that implicate national interests. Such

   contracts require approval by the National Assembly. It is undisputed that the Trust Agreement

   was not presented to, let alone approved by, the National Assembly, and thus it is void.

          Finally, the Trust’s argument that the act of state doctrine requires this Court to accept the

   validity of the assignment under Venezuelan law is meritless. The Trust argues the act of state

   doctrine applies to the execution of the Trust Agreement by the ex-Petroleum Minister and

   Procurador General but ignores the National Assembly’s resolution squarely pronouncing those

   alleged acts unconstitutional, and offers no explanation for why the National Assembly’s official

   resolution is not the relevant act of state. These conflicting acts by different actors of a foreign

   state require dismissal under the political question doctrine, not absolute deference under the act

   of state doctrine. Even without the National Assembly’s resolution, however, the act of state




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   doctrine would not apply because PDVSA’s alleged assignment of claims to a New York trust

   was not “performed solely within [Venezuela’s] own borders,” Chisholm & Co. v. Bank of

   Jamaica, 643 F. Supp. 1393, 1403 (S.D. Fla. 1986), and because PDVSA itself purportedly

   authorized the Trust to file suit in the United States. Grupo Protexa, S.A. v. All Am. Marine Slip,

   1994 A.M.C. 1828, 1852 (3d Cir. 1994).

          Therefore, the Court should dismiss the case for lack of standing.

                                    FACTUAL BACKGROUND

          The Creation of the Trust.




                                                        Algamex II 29:25–30:20, 35:25–37:7; United

   States v. Duker, Dkt. 12, Case No. 1:97-cr-00822-SS (S.D.N.Y. Dec. 11, 1997).

                                                                                   , Algamex II 9:5–

   11, 64:8–18,

              , Algamex I 115:13–17.

          But rather than asserting the (meritless) claims in this case directly on behalf of

   PDVSA—and thereby subjecting PDVSA to U.S. jurisdiction and discovery and the reach of its

   many creditors—plaintiff’s counsel,        , and certain Venezuelan officials formed a new entity

   to bring the case. Together, they purported to form a trust, created under and governed by New

   York law, that ostensibly took assignment of certain PDVSA claims so as to bring suit on those

   claims in the United States in the name of the Trust rather than in PDVSA’s own name.3 This

   resulted in the Trust Agreement, the instrument that purports both to create the Trust under New
   3
     The Trust Agreement’s New York choice-of-law provision states: “This Litigation Trust
   Agreement shall be governed by, and construed and enforced in accordance the laws of the State
   of New York, without giving effect to the principles of conflicts of law thereof.” TA § 9.3.


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   York law and to assign litigation claims from PDVSA to the Trust.

          The Trust Agreement was supposedly signed by two Venezuelan officials: (i) Nelson

   Martinez, the then-Petroleum Minister; and (ii) Reinaldo Munoz Pedroza (“Munoz”), the

   professed, but legally illegitimate, Procurador General. TA, at 15. Martinez purported to sign

   for PDVSA and to assign PDVSA’s claims to the Trust, TA, at 1, while Munoz purported to sign

   the Trust Agreement to provide certain legal approvals required under Venezuelan law, TA

   § 9.8. The Trust Agreement provides for three trustees who purportedly control and manage the

   Trust, TA §§ 4.1(a)–(c), yet two of the trustees are appointed by plaintiff’s counsel. TA § 4.1(c).

   The Petroleum Minister appoints the final trustee, and he supposedly appointed Alexis Arellano,

   who is also alleged to have signed the Trust Agreement. TA § 4.1, 15.

          None of the three Venezuelan officials who supposedly signed the Trust Agreement has

   appeared in this case to authenticate their signatures or otherwise defend the Trust Agreement.

   Martinez has been arrested and imprisoned on charges of corruption and (significantly) executing

   contracts without proper authorization.4 The Trust claims Arellano cannot be located; news

   reports suggest he, too, faces corruption charges.5       And Munoz failed to appear for his

   deposition, which was cancelled three days before it was scheduled to occur. The defendants’

   ability to discover the facts regarding the putative assignment have been impaired by Maduro

   and PDVSA President Manuel Quevedo, both of whom have—according to plaintiff’s counsel—




   4
     Venezuela’s Ex-Oil Minister and Ex-PDVSA Head Arrested, British Broadcasting Corporation
   (Nov. 30, 2017), available at https://www.bbc.com/news/world-latin-america-42182289;
   Venezuela Confirms Ex-Oil Bosses Del Pino, Martinez Detained, Reuters (Nov. 30, 2017),
   available at https://www.reuters.com/article/us-venezuela-oil-prosectuor/venezuela-confirms-ex-
   oil-bosses-del-pino-martinez-detained-idUSKBN1DU279.
   5
     Caso de Corrupcion: La Conexion Venezolana, Expreso, (Aug. 31, 2017), available at
   http://www.expreso.ec/actualidad/odebrecht-dpvsa-venezuela-ecuador-corrupcion-AB1663552.


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   interfered in this lawsuit by instructing key witnesses not to appear for depositions.6 The Trust’s

   failure to present these witnesses precludes it from authenticating the Trust Agreement under the

   Federal Rules of Evidence and has severely prejudiced the defendants’ ability to defend this

   case, meriting dispositive sanctions, issues fully briefed in prior submissions.7

            The Trust’s discovery failures have also deprived the defendants of the opportunity to

   probe whether PDVSA itself (as opposed to a small group of unauthorized and illegitimate

   Venezuelan officials) supports the Trust and intended to assign the alleged claims. Troublingly,

   the Trust Agreement was not signed by PDVSA’s president, and the Trust has failed to

   demonstrate that the Trust Agreement was ever presented to, let alone approved by, PDVSA’s

   board of directors. Likewise, the Trust Agreement evaded all of the standard legal processes

   mandated for national interest contracts under Venezuelan law, including approval by the

   National Assembly. HR ¶¶ 86–102. Moreover, under the Trust Agreement, the lion’s share of

   any recovery in this case—66%—would go to parties other than PDVSA



                                                         . Ex. 1, at 1. Remarkably, only 34% of any

   recovery in this case would actually make its way to PDVSA. Ex. 1, at 1.

            Political Developments in Venezuela. While the plaintiff’s lawyers and financier were

   forming the Trust, the already-volatile political situation in Venezuela was deteriorating.

   President Maduro has been engaged in a relentless campaign to consolidate power by gutting the

   National Assembly since political parties opposing him won a majority in the National Assembly

   in 2015. HR ¶¶ 20–23. Those efforts culminated in 2017 when Maduro created a new, parallel

   legislature to replace the National Assembly, the “National Constituent Assembly,” which

   6
       ECF 430-1, at 7, 11; Hr’g Tr. 12:8–11 (June 7, 2018).
   7
       ECF 430; ECF 466; ECF 478; ECF 483; ECF 486; ECF 502.


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   Maduro packed with loyalist cadres in elections rejected as rigged by the United States.8 HR

   ¶ 23. The United States has strongly denounced Maduro’s efforts, recognizing the National

   Assembly as “the only legitimate legislature” in Venezuela and imposing repeated sanctions

   based on “establishment of an illegitimate National Constituent Assembly, which has usurped

   the power of the democratically elected National Assembly.”9

            The National Assembly’s Resolution. After the Trust filed this lawsuit, the National

   Assembly issued a resolution declaring the Trust Agreement “unconstitutional” under

   Venezuelan law.      Ex. 2.   The National Assembly’s resolution concludes that the Trust

   Agreement is a “National Interest Contract,” a category of public contracts under Venezuelan

   law implicating national interests and which thus require the approval of the legislature—

   approval the Trust never sought, much less received. Id. The resolution also declared the Trust

   Agreement unconstitutional because Munoz “has usurped the functions” of the office of

   Procurador General, as he was not officially appointed by Maduro nor “authorized by the

   National Assembly,” as required by the Venezuelan constitution. Id. The National Assembly’s

   resolution also denounced the Trust Agreement as “a mechanism to divert the funds and

   resources” of the state-owned PDVSA from “the public treasury,” no doubt a reference to the

   Trust Agreement’s indefensible fee—under which 66% percent of any recovery on claims

   purportedly owned by PDVSA goes to                                              . Id. Notably,

   no other government body in Venezuela has disputed the National Assembly’s resolution.

                                           ARGUMENT

       I.   The Trust’s Lack of Standing Mandates Dismissal of Its Claims

            This case must be dismissed because the Trust lacks Article III standing. To prove

   8
     State Department, Venezuela’s Illegitimate National Constituent Assembly (Aug. 3, 2017),
   available at https://www.state.gov/r/pa/prs/ps/2017/08/273024.htm.
   9
     Exec. Order No. 13,808, 82 Fed. Reg. 41155 (Aug. 24, 2017).


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   Article III standing, the plaintiff must prove it suffered an “injury in fact.”         Nicklaw v.

   CitiMortgage, Inc., 839 F.3d 998, 1001 (11th Cir. 2016) (“The ‘irreducible constitutional

   minimum of standing’ comprises three elements: injury in fact, causation, and redressability.”

   (quoting Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (1992))); Spokeo, Inc. v. Robins, 136

   S. Ct. 1540, 1547 (2016) (“The plaintiff, as the party invoking federal jurisdiction, bears the

   burden of establishing these elements.”). Here, the Trust itself suffered no such injury in fact. It

   never did business with any defendant from which it could allege some injury. Rather, the Trust

   relies exclusively on its putative assignment to assert claims based on PDVSA’s alleged injury.

          But because that putative assignment is void, as demonstrated infra, the Trust has no

   injury in fact, and thus no Article III standing. See U.S. Fax Law Ctr., Inc. v. iHire, Inc., 476

   F.3d 1112, 1120 (10th Cir. 2007) (holding a plaintiff without a valid assignment lacks an injury

   in fact); Dougherty v. Carlisle Transp. Prods., Inc., 610 F. App’x 91, 93–94 (3d Cir. 2015)

   (dismissing a case based on a void, champertous assignment for lack of standing); Texas Life,

   Accident, Health & Hosp. Serv. Ins. Guar. Ass’n v. Gaylord Entm’t Grp., 105 F.3d 210, 213 (5th

   Cir. 1997) (holding an assignee lacked standing where the assignment was invalid).

          Courts in this district regularly dismiss for lack of Article III standing cases based on an

   invalid assignment. See, e.g., MAO-MSO Recovery II, LLC v. Boehringer Ingelheim Pharm.,

   Inc., 281 F. Supp. 3d 1309, 1313–14, 1316 (S.D. Fla. 2017) (holding plaintiffs “utterly failed to

   show that they ha[d] standing” by not alleging “the essential terms” of purported assignments);

   Vardag v. Motorola, 264 F. Supp. 2d 1056, 1062 (S.D. Fla. 2003) (dismissing for lack of

   standing “in the absence of a valid assignment”); Live Entm’t, Inc. v. Digex, Inc., 300 F. Supp.

   2d 1273, 1275, 1279 (S.D. Fla. 2003) (holding, where the plaintiff “suffered no injury in fact by

   the [d]efendant as a result of the alleged breach,” “[the plaintiff] ha[d] no standing” as “the




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   Agreement was never lawfully assigned”). The same result is required here.

          The Trust has argued in prior briefing that the invalid assignment of claims is a matter of

   prudential, rather than Article III, standing.10 That is demonstrably incorrect, under the case law

   cited above, but the Trust’s point is also immaterial: if a plaintiff fails to demonstrate either

   Article III or prudential standing, its case must be dismissed. See E.F. Hutton & Co. v. Hadley,

   901 F.2d 979, 984–85 (11th Cir. 1990) (“[A] party claiming standing also must demonstrate that

   prudential considerations do not constrain the trial court from hearing the case.”); see also Nat.

   Answers, Inc. v. Smithkline Beecham Corp., 529 F.3d 1325, 1330–33 (11th Cir. 2008) (dismissal

   for lack of prudential standing); In re Ryan, 2011 WL 1375865, at *3 (S.D. Fla. 2011) (same).11

          Thus, if the assignment of claims is invalid (it is), the Trust lacks standing, whether

   characterized as a lack of Article III or prudential standing, and this case must be dismissed.

    II.   The Assignment in the Trust Agreement Is Void Under New York Law

          The Trust cannot carry its burden of proving the validity of its supposed assignment of

   claims and thus its Article III standing, because the Trust Agreement and the assignment of

   claims are void under New York law. Pursuant to its choice-of-law clause, the Trust Agreement

   10
      The cases the Trust cited in a prior filing (ECF 221 at 25–26) on this point are inapposite.
   Unlike here, Mulhall v. UNITE HERE Local 355, 618 F.3d 1279, 1290 (11th Cir. 2010), and
   Estate of Prince v. Aetna Life Ins. Co., 2008 WL 4327049, at *3–4 (M.D. Fla. 2008), involved
   statutory grants of prudential standing, not assignments. In Church v. City of Huntsville, 30 F.3d
   1332, 1336–37 (11th Cir. 1994), the plaintiffs had personally suffered deprivations of
   constitutional rights, unlike the Trust here. In two other cases cited by the Trust (ECF 221 at 26–
   27), the standing defect was moot or cured, also not the case here. See Luis Medina & Evatech,
   Inc. v. Wright, 2014 WL 12618175, at *2–3 (M.D. Fla. 2014); Am. Iron & Steel Inst. v.
   Occupational Safety & Health Admin., 182 F.3d 1261, 1274 n.10 (11th Cir. 1999).
   11
      In fact, the majority of the cases the Trust previously cited on this point (ECF 221 at 25–27)
   dismissed the case for lack of prudential standing. See Procter & Gamble Co. v. Amway Corp.,
   242 F.3d 539, 561–62, 564 (5th Cir. 2001) (dismissal on prudential standing grounds); Yocum v.
   Nationstar Mortg., LLC, 2017 WL 3668178, at *10–11 (N.D. Ala. 2017) (same); Oswalt v.
   Sedwick Claims Mgmt. Servs., Inc., 2015 WL 1565033, at *3–6 (M.D. Ala. 2015) (same);
   Mcfarland v. BAC Home Loans Servicing, 2012 WL 2205566, at *3–4 (N.D. Ga. 2012) (same);
   In re Canellas, 2012 WL 868772, at *3–4 (M.D. Fla. 2012) (same).


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   is “governed by, and construed and enforced in accordance” with New York law. TA § 9.3.

          A.      The Trust Agreement Violates New York’s Prohibition on Champerty

          First, the Trust Agreement’s assignment of claims is void because it plainly violates New

   York’s ban on champerty. New York’s champerty statute “prohibits the purchase of notes,

   securities, or other instruments or claims with the intent and for the primary purpose of bringing

   a lawsuit.” Justinian Capital SPC v. WestLB AG, 65 N.E.3d 1253, 1254 (N.Y. 2016). This

   statutory prohibition specifically applies to “taking an assignment of . . . any claim or demand.”

   N.Y. Jud. Law § 489(1). “[T]he champerty doctrine was developed ‘to prevent or curtail the

   commercialization of or trading in litigation.’” Justinian, 65 N.E.3d at 1254 (quoting Bluebird

   Ptrs. v. First Fid. Bank, 731 N.E.2d 581, 582 (N.Y. 2000)).

          The recent, controlling opinion of the New York Court of Appeals—New York’s highest

   court—in Justinian, is directly on point and dispositive. In Justinian, a company held notes

   indirectly issued by a German bank. Id. at 1254. When the value of the notes declined, the

   company considered suing the bank, but the company’s “fear of repercussions from bringing a

   direct lawsuit led [the company] to consider another option in which a third party would bring

   the lawsuit and remit a portion of any proceeds to [the company].” Id. The company then

   conveyed the notes to “a Cayman Islands shell company with few or no assets.” Id. The shell

   company’s business plan was to “commence litigation to recover the loss on the investment,”

   “remit the recovery from such litigation to the company, minus a cut taken by [the shell

   company],” and then “partner with specific law firms . . . to conduct litigation.” Id. at 1255.

          The New York Court of Appeals held the assignment was void under New York’s

   champerty law. Id. at 1257. The court reasoned “the impetus for the assignment of the notes to

   [the shell company] was [the assignor]’s desire to sue [the bank] for causing the notes’ decline in

   value and not to be named as a plaintiff in the lawsuit.” Id. “[The shell company]’s business


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          New York law provides that “[e]very lifetime trust shall be in writing and shall be

   executed and acknowledged by the person establishing such trust and, unless such person is the

   sole trustee, by at least one trustee thereof.” N.Y. Est. Powers & Trusts Law § 7-1.17(a). One of

   the “requisites of a proper acknowledgement” is a notarized certificate of acknowledgement

   attached to the trust agreement. Galetta v. Galetta, 991 N.E.2d 684, 687 (N.Y. 2013). These

   strict formal requirements not only prove the identity of the trust signatories—they also serve to

   “impose[] on the signer a measure of deliberation in the act of signing the document” by

   “underscor[ing] the weighty personal choices to relinquish significant property.” Id.

          “When a grantor fails to complete the formalities associated with setting up a trust, a

   valid trust is not created,” and “[w]here no valid trust [i]s created any transfer into or out of the

   putative trust is null and void.” In re McQuade, 2017 WL 3706649, at *3 (N.Y. Sur. Ct. 2017).14

          Here, the Trust Agreement fails to comply with the requirements of New York Estates

   Powers & Trusts Law § 7-1.17. The Trust Agreement states “[t]he Parties hereby establish a

   trust which shall be known as the ‘PDVSA US Litigation Trust.’” TA § 2.1 The Trust

   Agreement defines “the ‘Parties’” as “PDVSA and the Litigation Trustees” and states that

   PDVSA is “acting in this matter through the Minister of the People’s Petroleum Power, as a

   representative duly authorized to take action on behalf of PDVSA.” TA at 1. But the signature

   14
      All emphasis is added unless otherwise noted. See also Gaines v. City of New York, 29
   N.Y.S.3d 270, 271 (N.Y. App. Div. 2016) (“[D]ecedent’s failure to complete the formalities
   associated with setting up the [trust] prior to her death was fatal to the [trust]’s existence. Neither
   decedent nor the putative trustee executed or acknowledged the proposed trust agreement, and
   the [trust] was never properly funded with the settlement proceeds.”), aff’d by 76 N.E.3d 289,
   289 (N.Y. 2017) (“Under the circumstances of this case, a valid supplemental needs trust was
   never effected.”); Fasano v. DiGiacomo, 853 N.Y.S.2d 657, 659 (N.Y. App. Div. 2008) (holding
   where the putative trustee failed to execute the trust agreement as required by § 7-1.17, “no valid
   trust was created, and any transfer into or out of the putative trust on August 4, 1998, was null
   and void”); In re Will of D’Elia, 964 N.Y.S.2d 877, 878, 880 (N.Y. Sur. Ct. 2013) (holding,
   where the trustee had not executed a trust agreement at the time a will incorporating the trust by
   reference was executed, “the trust was not in existence at the time the will was signed”).


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   of Martinez—the purported representative of PDVSA and thus the “person establishing such

   trust” under § 7-1.17(a)—is not accompanied by the required notarized certificate of

   acknowledgment. Thus, “no valid trust was created” and the putative “transfer” of the claims in

   this litigation “into or out of the putative trust is null and void.” In re McQuade, 2017 WL

   3706649, at *3; see also Gaines, 76 N.E.3d at 289.

          In a meritless effort to avoid this dispositive legal defect, the Trust previously argued that

   “under New York law a ‘trust may be created orally or in writing; no particular form of words is

   necessary, and it may arise by implication from the settlor’s conduct,’” and “[t]herefore, a

   grantor’s failure to sign a trust document does not invalidate a trust.” ECF 459, at 9 (quoting In

   re Marcus Trusts, 769 N.Y.S.2d 56, 57 (N.Y. App. Div. 2003)). The Trust is wrong, and its

   argument was highly misleading because all of the cases the Trust cited for that proposition

   addressed trusts created before 1997,15 when New York amended its trust statute to explicitly

   require “[e]very lifetime trust shall be in writing and shall be executed and acknowledged by

   the person establishing such trust.” N.Y. Est. Powers & Trusts Law § 7-1.17(a); see Fasano, 853

   N.Y.S.2d at 659 (“EPTL 7-1.17 was enacted in 1997 to impose certain formal requirements for

   the creation, amendment, and revocation of lifetime trusts. Until the passage of this statute in

   1997, New York, a state with strict and rigid requirements for wills did not have any formal

   requirements for lifetime trusts.” (quotation marks and ellipses omitted)).16 Unlike the pre-1997



   15
      See ECF 459, at 9 (citing Marcus Trusts, 769 N.Y.S.2d at 641 (“The contention of [the
   appellants] that the 1972 MG2 Trust was not validly formed because a complete trust agreement
   was never executed is not persuasive.”); Orentreich v. Prudential Ins. Co. of Am., 713 N.Y.S.2d
   330, 331 (N.Y. App. Div. 2000) (“Plaintiffs’ argument that the 1994 Trust was not validly
   formed because a complete trust agreement was never executed is not persuasive.”)). The
   Trust’s final cited case was decided before New York trust law was amended. See ECF 459, at 9
   (citing Agudas Chasidei Chabad v. Gourary, 833 F.2d 431, 434 (2d Cir. 1987)).
   16
      In fact, the trial court opinion in In re Marcus Trusts—the very case the Trust quoted to this
   Court to argue “a trust may be created orally or in writing”—expressly noted the trust in that


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   trusts in the inapposite cases the Trust cited to this Court, the Trust here was created in 2017 and

   its failure to comply with the requirements of § 7-1.17(a) is fatal.

          The decision in Bullock v. Clarke, 2002 WL 31119931 (N.Y. Sup. Ct. 2002), is directly

   on point. In Bullock, the trust agreement “was signed by the settlor and the trustee, but was

   neither acknowledged nor witnessed.” Id. at *1. The Court held “the trust agreement does not

   comply with the requirements of section 7-1.17 and the trust is not valid as a receptacle for the

   settlor’s testamentary disposition of her home.” Id. at *2. The exact same is true here. For the

   purported signature of the would-be settlor, Martinez, “there is no acknowledgement at all and

   no other indicator of authenticity,” and thus “the trust agreement does not comply with the

   requirements of section 7-1.17 and the trust is not valid as a receptacle for the” putative

   assignment of the claims in this case. Id. at *2.

          The Trust also previously argued “New York courts routinely uphold the validity of legal

   instruments, including trusts, that have no acknowledgments where there are other indicia of

   reliability.” ECF 221, at 28. But the Trust’s cited cases either involved settlors’ signatures that

   (unlike here) were accompanied by a notarized certificate of acknowledgment (the certificate

   was merely alleged to be technically defective) or the lack of acknowledgements was cured.17

   Indeed, the court in Bullock distinguished the Trust’s cited cases on those grounds in its on-point



   case “was settled in March, 1972, and is unaffected by EPTL 7–1.17 which requires lifetime
   trusts established on or after December 25, 1997 to be in writing to be valid.” 742 N.Y.S.2d
   777, 779 n.1 (N.Y. Sur. Ct. 2002); see also In re Estate of Kneznek, 727 N.Y.S.2d 180, 181 &
   n.2 (N.Y. App. Div. 2001) (noting § 7-1.17 was “not applicable to” a trust created in 1990).
   17
      See ECF 221 at 28–29 (citing In re Klosinski, 746 N.Y.S.2d 350, 359 (N.Y. Sur. Ct. 2002)
   (noting “[t]he acknowledgment fails to state that the officer taking the acknowledgment knew or
   had satisfactory evidence, that the person executing the Trust was the decedent”); Estate of
   O’Brien, 627 N.Y.S.2d 544, 545 (N.Y. Sur. Ct. 1995) (noting “the trust instrument was signed by
   a notary public, stating that it was ‘signed, sealed and delivered’ in her presence”); People ex rel.
   Sayville Steamboat Co. v. Kempner, 63 N.Y.S. 199, 200 (N.Y. App. Div. 1900) (noting “[t]he
   certificate signed by the appellant here was defective”)). See also infra n.20.


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   decision.   See, e.g., 2002 WL 31119931, at *1–*2 (“In Klosinski, there was also an

   acknowledgment, alleged to be defective. . . . In this case, there is no acknowledgment at all and

   no other indicator of authenticity.”).

          Finally, and tacitly admitting the Trust Agreement lacks the requisite acknowledgments,

   the Trust previously suggested that it cured the missing certificates of acknowledgment by

   “providing the sworn acknowledgments of two of the trustees” during this litigation. ECF 221,

   at 29. The Trust also produced (long after the close of fact discovery) a declaration from Munoz

   stating his signature on the Trust Agreement is authentic. But the Trust has provided no such

   (improper) after-the-fact declaration from Martinez, the person supposedly acting for PDVSA.

          These after-the-fact acknowledgments fail to cure the Trust’s non-compliance with § 7-

   1.17(a). First, the certificates of acknowledgment from two of the trustees are insufficient; a

   trust agreement must be acknowledged both “by the person establishing such trust and, unless

   such person is the sole trustee, by at least one trustee thereof.” N.Y. Est. Powers & Trusts Law

   § 7-1.17(a) (emphasis added); see Fasano, 853 N.Y.S. at 685 (holding “no valid trust was

   created” where the settlor had executed the trust instrument but the putative trustee had not).

          Second, the Trust’s belated acknowledgment from Munoz—which should be excluded

   for the reasons set forth in the defendants’ motion for an order to show cause, ECF 430—also

   fails to cure the Trust’s non-compliance with § 7-1.17(a). As noted above, Martinez—not

   Munoz—is “the person establishing such trust” under the Trust Agreement. See TA at 1 & § 2.1.

   Munoz (allegedly) signed only to grant a required legal approval of the Trust Agreement, see TA

   § 9.8, a fact confirmed by the Trust’s own expert, Perez 73:25–74:16. But even if Munoz were a

   “person establishing such trust,” § 7-1.17(a)’s plain language requires a certificate of

   acknowledgement from each “person establishing such trust” by providing that a trust need only




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   be acknowledged by “at least one trustee thereof”—but making no equivalent provision for the

   “person establishing such trust.”18 Thus, because the Trust has only provided a declaration from

   Munoz—but not Martinez—the Trust has failed to cure its non-compliance with § 7-1.17(a).

          But even if Munoz were considered a “person establishing such trust” (he is not) and

   even if an acknowledgment from only Munoz, and not Martinez, were enough to validly

   acknowledge the Trust Agreement (it is not), the Trust was still void at the time the purported

   assignment was executed, and thus the purported assignment of the claims into the putative trust

   was, and remains, “null and void,” In re McQuade, 2017 WL 3706649, at *3 (“When no valid

   trust was created any transfer into or out of the putative trust is null and void.”). The opinion in

   Will of D’Elia is on point. In that case, “the trust was signed by the decedent as settlor” at the

   time he executed his will but not by the trustee. 964 N.Y.S.2d at 880. Even though the trustee

   later executed the trust, the Court held that “the trust was not in existence at the time the will was

   signed” and “the unavoidable result” was the bequest to the trust “under the decedent’s purported

   will fail[ed].” Id. at 880, 881; see Fasano, 853 N.Y.S.2d at 659 (holding because the trustee

   never executed the trust agreement as required by § 7-1.17, “no valid trust was created, and any

   transfer into or out of the putative trust on August 4, 1998, was null and void.”).19

          In sum, the Trust Agreement lacks the requisite acknowledgements under New York law,

   and hence the Trust and the assignment of claims to it is null and void.

   18
      See In re Failla, 838 F.3d 1170, 1176 (11th Cir. 2016) (“The presumption of consistent usage
   instructs that a word or phrase is presumed to bear the same meaning throughout a text and that a
   material variation in terms suggests a variation in meaning.” (quotation marks omitted)).
   19
      Hazell and Londin (previously cited by the Trust) are not to the contrary. ECF 221, at
   29. While those cases may stand for the proposition that the creation of the Trust itself could be
   cured by providing proper certificates of acknowledgment, neither case addressed a transfer of
   property to an entity not validly formed at the time of the putative transfer. See Hazell v. Bd. of
   Elections, 637 N.Y.S.2d 530, 531 (1996) (failure to acknowledge a certificate of nomination
   cured); Londin v. Londin, 420 N.Y.S.2d 326, 327 (N.Y. Sup. Ct. 1979) (failure to acknowledge a
   marital separation agreement cured).


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           C.     The Trust Is Void Because Its Corpus Is Not Sufficiently Defined

           Further, the Trust is invalid because its corpus is not sufficiently defined. A valid trust

   under New York law requires “a fund or other property sufficiently designated or identified to

   enable title of the property to pass to the trustee.” In re Doman, 890 N.Y.S.2d 632, 634 (N.Y.

   App. Div. 2009). The “Contributed Claims” purportedly assigned to the Trust are defined as

   “claims against multiple individuals and entities (the ‘Conspirators’) arising out of” certain

   enumerated categories of conduct. TA at 1. But the Trust Agreement wholly fails to identify the

   “multiple individuals and entities” the claims against which the Trust Agreement purports to

   transfer. Thus, the Court and the defendants have no way of determining whether the claims

   against the defendants here were actually putatively transferred to the Trust, a situation that risks

   subjecting the defendants to duplicative liability. Sussman v. Sussman, 402 N.Y.S.2d 421, 422,

   423 (N.Y. App. Div. 1978) (holding a description of trust property as “the U.S. bonds furnished

   and their interest” failed to “make[] them definitely ascertainable”). Accordingly, the “property”

   purportedly assigned to the Trust is not “sufficiently designated or identified,” and the Trust is

   invalid. See Sussman, 402 N.Y.S.2d at 423; Mukamal v. Bakes, 383 B.R. 798, 811 (S.D. Fla.

   2007) (dismissing for lack of standing where the claims brought were not assigned to the trust).20

    III.   This Case Must Be Dismissed Under the Political Question Doctrine

           Even if the assignment and Trust were valid under New York law (they are not), this

    case should still be dismissed because the Trust Agreement’s validity under Venezuelan law

    presents non-justiciable political questions in light of the National Assembly’s resolution

    denouncing the Trust as unconstitutional. See Carmichael v. Kellogg, Brown & Root Svc., Inc.,
   20
       The Trust previously cited In re Fontanella’s Estate, 304 N.Y.S.2d 829 (N.Y. App. Div.
   1969), to argue “the rule identified by Defendants concerns ‘personal property’ trusts, not
   litigation trusts of claims belonging to a foreign sovereign,” ECF 221, at 30, but that case did not
   address litigation trusts at all or draw any distinction between litigation claims (which are
   personal property) and any other form of property.


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    572 F.3d 1271, 1280 (11th Cir. 2009) (“Political questions have been held to be nonjusticiable

    and therefore not a ‘case or controversy’ as defined by Article III.” (quotation marks omitted)).

           A dispute raises a non-justiciable political question if any one of the following

   characteristics is present:

           (1) a textually demonstrable constitutional commitment of the issue to a coordinate
           political department; (2) a lack of judicially discoverable and manageable standards for
           resolving it; (3) the impossibility of deciding without an initial policy determination of a
           kind clearly for nonjudicial discretion; (4) the impossibility of a court’s undertaking
           independent resolution without expressing lack of the respect due coordinate branches of
           government; (5) an unusual need for unquestioning adherence to a political decision
           already made; or (6) the potentiality of embarrassment from multifarious pronouncements
           by various departments on one question.

   Carmichael, 572 F.3d at 1280 (quoting Aktepe v. United States, 105 F.3d 1400, 1402–03 (11th

   Cir. 1997)); Made in the USA Found’n v. United States, 242 F.3d 1300, 1312 (11th Cir. 2001)

   (“[A]ny one of the above-listed characteristics may be sufficient to preclude judicial review.”).

           “‘[M]atters intimately related to foreign policy and national security are rarely proper

   subjects for judicial intervention,’” as “[t]he Constitution commits the conduct of foreign affairs

   to the executive and legislative branches of government.” Aktepe, 105 F.3d at 1403 (quoting

   Haig v. Agee, 453 U.S. 280, 292 (1981)). In particular, recognition of foreign governments is

   always beyond the purview of the Courts, as it is a matter textually committed to the Executive

   Branch: “[I]t is for the President alone to make the specific decision of what foreign power he

   will recognize as legitimate, both for the Nation as a whole and for the purpose of making his

   own position clear within the context of recognition in discussions and negotiations with foreign

   nations.” Zivotofsky ex rel. Zivotofsky v. Kerry, 135 S. Ct. 2076, 2090 (2015); Rep. of Panama v.

   Citizens & S. Int’l Bank, 682 F. Supp. 1544, 1545 (S.D. Fla. 1988) (recognizing “[t]he Executive

   branch’s exclusive power to recognize and legitimize a foreign government.”).

           Here, the National Assembly’s resolution denouncing the Trust as “unconstitutional”



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   under Venezuelan law presents the Court with non-justiciable political questions. The Maduro

   government has undermined the constitutional authority of the National Assembly since political

   parties opposing his regime won a majority in that body in 2015. HR ¶¶ 20–23. The United

   States, through the Executive Branch, has endorsed the National Assembly and denounced

   Maduro’s attacks on that body in the strongest possible terms, continuing to recognize the

   National Assembly as the “only legitimate legislative body” in Venezuela.21 The U.S. House of

   Representatives has similarly adopted a resolution “urg[ing] the Government of Venezuela to . . .

   respect the constitutional rights of the National Assembly,” H. Res. 259, 115th Congress (2017),

   and the Senate has introduced a similar resolution.22

          The National Assembly’s resolution denounced the Trust as “unconstitutional” on two

   bases squarely implicating the political question doctrine: (1) the Trust Agreement was a national

   interest contract; and (2) Reinaldo Munoz has “usurped the functions” of Procurador General.

          To find standing here, the Court would necessarily have to disregard the National

   Assembly’s resolution, despite the U.S. State Department’s clear continuing recognition of and

   support for that body. Indeed, the scope of the National Assembly’s authority over “national

   interest contracts”—squarely at issue in this case—is a key separation of powers issue under

   Venezuelan law and has played a central role in the power struggle between Maduro and the

   National Assembly. HR ¶ 21. A decision that the assignment here is valid, notwithstanding the

   National Assembly’s clear pronouncement to the contrary, risks undermining the Executive

   Branch’s recognition of that body as the “only legitimate legislature” in Venezuela.          See



   21
      State Dep’t, Assumption of Legislative Powers in Venezuela (Aug. 18, 2017), available at
   https://www.state.gov/r/pa/prs/ps/2017/08/273543.htm.
   22
      S. Res. 414, 115th Cong. (referred to the S. Comm. on Foreign Relations) (“[T]he Senate . . .
   condemns the steps taken by President Maduro . . . to undermine the independence of democratic
   institutions such as the National Assembly of Venezuela . . . .”).


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   Guaranty Trust Co. of New York v. United States, 304 U.S. 126, 137 (1938) (“What government

   is to be regarded here as representative of a foreign sovereign state is a political rather than a

   judicial question, and is to be determined by the political department of the government.”); Rep.

   of Panama v. Air Panama Int’l, S.A., 745 F. Supp. 669, 673–74 (S.D. Fla. 1988) (“[I]t is well-

   settled that all matters of recognition of a foreign government are political questions that fall

   exclusively within the province of the Executive Branch.”). The Judiciary’s rebuke of the only

   Venezuelan legislative body recognized by the Executive Branch would thus undermine the

   long-standing principle that “[r]ecognition is a topic on which the Nation must speak . . . with

   one voice.” Zivotofsky, 135 S. Ct. at 2086 (quotation marks omitted).

          Such a decision also would risk “embarrassment from multifarious pronouncements by

   various departments on one question,” Carmichael, 572 F.3d at 1280 (quoting Aktepe, 105 F.3d

   at 1402), with the Executive Branch recognizing the National Assembly’s authority but the

   Judiciary countermanding the National Assembly’s conclusions about its own authority as

   against the Maduro regime. See 767 Third Ave. Assocs. v. Consulate Gen. of Socialist Fed’l Rep.

   of Yugoslavia, 218 F.3d 152, 160–61 (2d Cir. 2000) (holding recognition of which newly-formed

   state succeeded to assets of the former Yugoslavia was “precisely the type of determination that

   is reserved to the Executive in the first instance” and absent a recognition decision “such a

   determination” by the judiciary “could conflict with a future determination by the President”).

          Indeed, just this March, the United States imposed sanctions barring transactions in a

   newly-issued Venezuelan digital currency, relying expressly on the fact that the digital currency

   was issued “in a process that Venezuela’s democratically elected National Assembly has




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   denounced as unlawful” in a resolution exactly like the resolution issued here.23 Contravening

   the National Assembly’s similar resolution here, aimed specifically at the Trust, would thus risk

   “express[ing a] lack of the respect due coordinate branches of government,” Carmichael, 572

   F.3d at 1280 (quoting Aktepe, 105 F.3d at 1403), in an area “[c]onstitution[ally] commit[ted]” to

   “to the executive and legislative branches of government.” Aktepe, 105 F.3d at 1403.

          Further, one of the primary bases on which the National Assembly denounced the Trust

   as unconstitutional is that Munoz does not validly hold the office of Procurador General, as he

   has not received an official appointment ratified by the National Assembly as required by the

   Venezuelan constitution. Ex. 2. To find standing, the Court necessarily must decide whether

   Munoz had lawful authority to provide the required legal approval for the Trust Agreement under

   Venezuelan law, which necessarily would include determining whether he validly holds the

   office of Procurador General. Answering that question in the affirmative would undermine the

   Executive Branch’s recognition of the National Assembly as the “only legitimate legislature” in

   Venezuela, as the Court would have to either conclude the National Assembly lacks

   constitutional authority to approve executive appointments or give effect to the Maduro regime’s

   practice of circumventing National Assembly review by having officials de facto hold office

   without appointment. Such an issue is entirely non-justiciable. Guaranty Trust, 304 U.S. at 137.

          Thus, if the Court reaches these Venezuelan law issues, the Court must dismiss this case

   under the political question doctrine.

    IV.   The Trust Agreement Is Void Under Venezuelan Law

          Alternatively, if the Court concludes the Venezuelan law issues are justiciable, then this



   23
      Exec. Order No. 13,827, 83 Fed. Reg. 12468 (Mar. 19, 2018). The related National Assembly
   resolution is Acuerdo Sobre la Emision de la Criptomoneda (Petro) (Jan. 9, 2018), available at
   http://www.asambleanacional.gob.ve/actos/_acuerdo-sobre-la-emision-de-la-criptomoneda-petro.


                                                   23
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   case should still be dismissed because the putative assignment is likewise void under Venezuelan

   law on several grounds. “In determining foreign law, the court may consider any relevant

   material or source, including testimony, whether or not submitted by a party or admissible under

   the Federal Rules of Evidence.” Fed. R. Civ. P. 44.1.

             A.     Neither Trust Agreement Signatory Had Authority to Assign the Claims

             The Trust Agreement is void because neither Martinez nor Munoz had the authority

   under Venezuelan law to assign the claims at issue. Rather, the authority to assign claims owned

   by PDVSA rests exclusively with PDVSA’s board of directors and president, neither of which

   approved the assignment here. These fatal defects are explained fully in the expert reports of

   Jose Ignacio Hernandez and Rafael Badell Madrid, both law professors at the Andres Bello

   Catholic University in Venezuela and experts in Venezuelan administrative law.24

             Although PDVSA is a state-owned company, it is formed as a corporation under

   Venezuelan law. HR ¶ 29; BR1 ¶ 36–38. Just as private companies are separate legal entities

   from their shareholders under Venezuelan law, PDVSA too is considered a separate legal entity

   from its shareholder, the Venezuelan government. HR ¶ 30; BR1 ¶ 16. Under Venezuelan law,

   PDVSA’s board of directors is the sole entity with lawful authority to decide which agreements

   PDVSA subscribes. HR ¶ 35; BR2 ¶ 28. Thus, for PDVSA to assign claims or enter into

   contracts, including the Trust Agreement, those assignments or contracts must be approved by

   PDVSA’s board of directors and then signed by PDVSA’s president. HR ¶ 37; BR1 ¶ 66–69;

   BR2 ¶ 28. For example, the contracts creating joint ventures between PDVSA affiliates and

   private companies for oil exploration were approved by the affiliates’ boards of directors, and

   signed by the affiliates’ presidents. HR ¶ 38. Similarly, PDVSA’s bond prospectuses from 2016

   all state they were “authorized by the resolutions of [PDVSA’s] board of directors.” HR ¶ 39.
   24
        Professor Hernandez is also currently a visiting fellow at Harvard.


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          But here, the Trust has produced no evidence that PDVSA’s board of directors or

   president even saw the Trust Agreement before it was executed, much less approved it. Thus,

   the putative assignment of claims owned by PDVSA is void. Indeed, the Trust has failed to

   prove the assigned claims were even owned by PDVSA (as opposed to its subsidiaries), in which

   case any assignment would have to be approved by the relevant subsidiary’s board. HR ¶ 43.

          (a) Nelson Martinez. Martinez, the Petroleum Minister when the Trust Agreement was

   executed, lacked authority to assign PDVSA’s claims. Under Venezuelan law, the Petroleum

   Minister does not directly manage or act for PDVSA; those powers are vested in PDVSA’s board

   of directors and president. HR ¶ 54; BR1 ¶ 70; BR2 ¶¶ 28–29. To argue to the contrary, the

   Trust Agreement incorrectly cites statutes stating the minister may exercise the Venezuelan

   government’s rights as PDVSA’s shareholder, meaning he is able to vote PDVSA’s shares at

   shareholder’s meetings. HR ¶¶ 53–54, 56; BR1 ¶ 71; BR2 ¶ 36. But the stockholders of a

   corporation under Venezuelan law (including PDVSA) lack the authority to directly act for the

   corporation—that authority lies with the corporation’s board. HR ¶¶ 54–56; BR2 ¶ 29.25

          (b) Reinaldo Munoz. Even the Trust does not contend Munoz had the authority to assign

   PDVSA’s claims. Munoz’s signature instead purports to reflect legal approval of the Trust

   Agreement required under Venezuelan law. TA § 9.8. Indeed, the Trust’s own expert witness

   testified that Munoz did not—and would not have had authority to—purport to sign the Trust

   Agreement for PDVSA, only to grant legal approval of the contract as required by Venezuelan

   law. Perez 73:25–74:16. Even this regulatory approval is invalid. Venezuelan law requires the

   Procurador General’s approval to be provided in a separate written opinion prior to the



   25
     The Trust Agreement also cites provisions giving the Petroleum Minister the authority to
   advise PDVSA (called “tutelage control”), but again this does not entail the authority to act for
   PDVSA. HR ¶ 47; BR2 ¶¶ 37–41.


                                                   25
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   execution of the relevant contract. BR1 ¶ 51; BR2 ¶ 80. Further, and for the reasons set out

   above, Munoz does not validly hold the office of Procurador General. HR ¶ 71; BR2 ¶ 95.

          B.      The Trust Agreement Is Void Under Venezuelan Law Because It Was Not
                  Approved By the National Assembly

          The Trust Agreement is also void because it was not approved by the National Assembly.

   Under Venezuelan law, public contracts that qualify as “national interest contracts” must be

   approved by the National Assembly to be effective. HR ¶ 89; BR1 ¶ 91; BR2 ¶ 132.

          The National Assembly concluded in its resolution that the Trust Agreement is a national

   interest contract. Ex. 2. Under Venezuelan law, the National Assembly’s resolution on this

   matter is conclusive and can be reversed only by a judgment of the Venezuelan Supreme Court.

   HR ¶ 91. There has been no such judgment. Accordingly, because the Trust Agreement was not

   approved by the National Assembly, it is null and void. HR ¶ 99; BR1 ¶ 152; BR2 ¶ 146.

          Even if the National Assembly had not issued a binding resolution, the Trust Agreement

   would constitute a national interest contract. A contract is a national interest contract if: (a) it is

   “subscribed by the Executive Branch with foreign entities;” (b) its purpose is “strongly related to

   the national sovereignty;” and (c) it has “a deep impact on Venezuela’s economy” and creates

   obligations to be paid in subsequent fiscal years. HR ¶ 92; BR1 ¶¶ 120–30.

          The Trust Agreement meets all these elements.             First, contracts with state-owned

   enterprises (like PDVSA) are considered contracts with “the Executive Branch,” and the Trust is

   a “foreign entity” because it was created under New York law. HR ¶ 94; BR1 ¶¶ 121–22.

   Second, the Trust’s ostensible purpose, to recover compensation for injury to Venezuela’s public

   property (i.e. PDVSA’s assets), is “strongly related to national sovereignty.” HR ¶ 95; BR1

   ¶¶ 123–24; Perez 142:14–144:6. Third, the Trust has national economic significance because the

   Trust Agreement claims that injury to public property constituted “vast damage,” HR ¶ 96; BR1



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   ¶ 125–27, alleged to be “more than $10 billion,” ECF 459, at 1, and creates obligations (the

   contingent fees) that will be paid after the year the Trust Agreement was executed, BR1 ¶ 125.

   Thus, the Trust Agreement is a national interest contract under Venezuelan law, and the National

   Assembly’s refusal to approve the Trust Agreement renders it void. HR ¶ 99; BR1 ¶ 131.

          C.      The Act of State Doctrine Does Not Apply Here to Immunize the Trust

          The Trust has argued that the act of state doctrine requires this Court to accept the

   validity of the assignment under Venezuelan law, but the Trust cannot carry its “burden of

   proving” the act of state applies doctrine here. See Honduras Aircraft Registry, Ltd. v. Gov’t of

   Honduras, 129 F.3d 543, 550 (11th Cir. 1997).

          At the outset, although the Trust claims the act of state doctrine applies to the assignment

   executed by Martinez and Munoz, it ignores entirely the National Assembly’s resolution

   denouncing the Trust as “unconstitutional” under Venezuelan law. That resolution is an official

   pronouncement of the Venezuelan legislature, which the United States recognizes as “the only

   legitimate legislature” in Venezuela. See Alfred Dunhill of London, Inc. v. Rep. of Cuba, 425

   U.S. 682, 695 (1976) (act of state doctrine would apply to a “statute, order, or resolution”).26 As

   a result, even assuming the unlawful acts of Martinez and Munoz qualify as acts of state (they do

   not), the Court would be confronted with conflicting acts of a foreign sovereign—two officials

   purporting to take certain actions, and the National Assembly adopting a resolution squarely

   pronouncing those very actions ultra vires and unconstitutional.          In these circumstances,

   resolving that conflict presents a non-justiciable political question, under the case law cited in

   Part III(A) above, and this case should be dismissed. But even without the National Assembly’s

   resolution, the act of state doctrine does not apply here for two independent reasons.


   26
     See also Restatement (Second) of Foreign Relations § 443 cmt.i (stating “[t]he act of state
   doctrine applies to acts such as constitutional amendments, statutes, decrees and proclamations”).


                                                    27
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                  1.     The Act of State Doctrine Does Not Apply Because the Trust Agreement
                         Was Not Completed in Venezuela

          First, the act of state doctrine does not apply because PDVSA’s alleged assignment was

   not “performed solely within [Venezuela’s] own borders.” Chisholm & Co. v. Bank of Jamaica,

   643 F. Supp. 1393, 1403 (S.D. Fla. 1986); Comparelli v. Republica Bolivariana De Venezuela,

   891 F.3d 1311, 1320 (11th Cir. 2018) (act of state doctrine applies to “acts a recognized foreign

   sovereign power committed within its own territory.” (quotation marks omitted)).

          For example, the act of state doctrine does not apply to a foreign sovereign’s repudiation

   of a contract to be performed outside of the sovereign’s territory. See Chisholm, 643 F. Supp. at

   1403.27 The doctrine also does not apply to a foreign sovereign’s expropriation of debts or

   accounts payable to the debtor in the United States. See Tabacalera Severiano Jorge, S.A. v.

   Standard Cigar Co., 392 F.2d 706, 715–16 (5th Cir. 1968) (“[W]hatever efforts were made by

   the Cuban government dealing with Tabacalera, these acts are to be recognized under the Act of

   State Doctrine only insofar as they were able to come to complete fruition within the dominion

   of the Cuban government.”).28


   27
      See also Eckert Int’l, Inc. v. Gov’t of Sovereign Dem. Rep. of Fiji, 834 F. Supp. 167, 172 (E.D.
   Va. 1993) (“The 1991 contract explicitly noted that it was for services to be performed in this
   country, not Fiji. No doubt Eckert received instructions and payment in this country, as well as
   performed its services here. Fiji’s argument to the contrary ignores the contract’s essential nexus
   with this country, ignores that the contract was to be performed here, and focuses only on the
   situs of the decision to terminate or break the contract.”); GDG Acquisitions, LLC v. Gov’t of
   Belize, 749 F.3d 1024, 1032 (11th Cir. 2014) (declining dismissal based on international comity
   where “[t]he [contract] was negotiated and signed in the United States. Intelco completed its
   performance by presenting the telephone equipment for acceptance in Florida. GDG, one of the
   parties to the litigation, is an American entity.”).
   28
      See also Allied Bank Int’l v. Banco Credito Agricola de Cartago, 757 F.2d 516, 521 (2d Cir.
   1985) (“The Costa Rican banks conceded jurisdiction in New York and they agreed to pay the
   debt in New York City in United States dollars. Allied, the designated syndicate agent, is located
   in the United States, specifically in New York; some of the negotiations between the parties took
   place in the United States.”); Libra Bank Ltd. v. Banco Nacional De Costa Rica, S.A., 570 F.
   Supp. 870, 882 (S.D.N.Y. 1983) (holding the act of state doctrine did not apply where, under the
   terms of the loan agreement, Banco Nacional was to make all payments in New York).


                                                    28
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          This is not a close case under these legal principles. Here, PDVSA purportedly hired

   New York-based lawyers to draft an assignment of the claims in this litigation to and create a

   New York trust, governed under New York law and managed by New York-based trustees, to

   receive the claims for the purpose of bringing litigation in the U.S. seeking relief under U.S.

   federal and state laws. Indeed, the very name of the entity PDVSA is alleged to have created and

   assigned claims is the “PDVSA U.S. Litigation Trust.” As a result, there is no question the

   alleged assignment in this case was not “performed solely within [Venezuela’s] own borders,”

   Chisholm, 643 F. Supp. at 1403, and hence the act of state doctrine does not apply.29

          Moreover, courts uniformly hold that the act of state doctrine does not apply to contracts

   that include a forum selection or choice of law clause specifying U.S. courts or U.S. law, as the

   Trust Agreement does here. See TA §§ 9.3 (choice of law), 9.5 (forum selection); Drexel

   Burnham Lambert Grp. v. Galadari, 610 F. Supp. 114, 119 (S.D.N.Y. 1985) (act of state

   doctrine did not apply where defendants “negotiated, executed, and delivered the Note in New

   York, consented to the jurisdiction of this court and to the construction of the Note in accordance

   with New York law”),30 Libra, 570 F. Supp. at 881–82 (act of state doctrine did not apply where,



   29
      For this reason, the cases the Trust cited in previous filings are inapposite. See ECF 221, at
   28; ECF 459, at 7–8. In First Merch. Collection Corp. v. Rep. of Argentina, the Argentine
   government confiscated in Argentina “merchandise [that had] illegally entered Argentina.” 190
   F. Supp. 2d 1336, 1337 (S.D. Fla. 2002). Similarly, in Mezerhane v. Republica Bolivariana de
   Venezuela, a Venezuelan national was seeking to challenge Venezuelan judicial decisions that
   expropriated his ownership interest in Venezuelan companies. 2013 WL 11322604, at *2 (S.D.
   Fla. 2013). And in Underhill v. Hernandez, the plaintiff was detained by a Venezuelan
   revolutionary (later recognized by the United States) in Venezuela. 168 U.S. 250, 251 (1897).
   Fogade v. ENB Rev. Trust challenged the Venezuelan government’s confiscation in Venezuela of
   stock in a Venezuelan company owned by Venezuelan nationals. 263 F.3d 1274, 1295, 1296
   (11th Cir. 2001). And in Fed’l Treasury Enter. Sojuzplodoimport v. Spirits Int’l B.V., one
   Russian government agency assigned trademark rights to another Russian government agency in
   Russia. 809 F.3d 737, 742, 744 (2d Cir. 2016). The Court in W.S. Kirkpatrick & Co. v. Envt’l
   Tectonics Corp. Int’l, held the act of state doctrine did not apply. 493 U.S. 400, 409–10 (1990).
   30
      Affirmed in relevant part by the Second Circuit. 777 F.2d 877, 881–82 (2d Cir. 1985).


                                                    29
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   under the loan agreement, “Banco Nacional consented to the jurisdiction of this court” and “also

   consented to have the letter agreement construed in accordance with New York law”).

          Because the putative assignment here was not completed wholly within Venezuela’s own

   territory and expressly invokes U.S. jurisdiction, the act of state doctrine does not apply.

                  2.      The Act of State Doctrine Does Not Apply Because the Trust Invoked the
                          Jurisdiction of the United States Courts

          This Court should also decline to apply the act of state doctrine because the Trust itself

   put the relevant Venezuelan law issues before this Court by filing this lawsuit in the United

   States. In Grupo Protexa, S.A. v. All American Marine Slip, for example, the Third Circuit

   refused to allow a plaintiff, who “chose to bring this action in the United States,” “to obtain an

   outcome determinative advantage from its forum selection” by “activat[ing] the act of state

   doctrine and preclud[ing] inquiry into the validity of” government acts essential to establishing

   the plaintiff’s claims. 1994 A.M.C. 1828, 1852 (3d Cir. 1994). Likewise, the Second Circuit has

   held “when a state comes into our courts and asks that our courts scrutinize its actions, the

   justification for application of the doctrine may well be significantly weaker.” Rep. of the

   Philippines v. Marcos, 806 F.2d 344, 359 (2d Cir. 1986). These principles apply with even

   greater force here. It would be unfair in the extreme to permit the Trust to come into a U.S. court

   and seek relief under U.S. law, with the only basis for its claimed standing being a putative

   assignment, while “obtain[ing] an outcome determinative advantage” by “activat[ing] the act of

   state doctrine and preclud[ing] inquiry into the validity of” that very assignment.

                                            CONCLUSION

          The Court should dismiss this case for lack of standing.




                                                     30
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   Respectfully submitted,

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                                    CERTIFICATE OF SERVICE

          I hereby certify that on July 23, 2018, I electronically filed the foregoing document with

   the clerk of the court for the U.S. District Court, Southern District of Florida, using the electronic

   filing system of the court. The electronic case filing system sent a “Notice of Electronic Filing”

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